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                     IN THE UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF ARKANSAS
                            (CENTRAL DIVISION DIVISION)

IN RE:                                         )         CASE NO.: 4:21-bk-10907
NIKKI STEWART                                  )         CHAPTER 13
                                               )         JUDGE PHYLLIS M. JONES
                       DEBTOR                  )

                     MOTION FOR RELIEF FROM AUTOMATIC STAY
                   AND 30-DAY WAIVER OF HEARING REQUIREMENTS

       COMES NOW Vanderbilt Mortgage and Finance, Inc., hereinafter “Movant”, through

counsel, and respectfully moves this Court for an Order granting relief from the automatic stay

provisions of 11 U.S.C. §362(a), with respect to a 2012 CMH Manufactured Home, Model

SOL001, Serial No. DSD058726AL located at 214 Hollyhocks Street, North Little Rock, AR

72117 (hereinafter “Property”) and as grounds therefor would show unto the Court the following:

       1.     Nikki Stewart, (hereinafter “Debtor”) filed a petition for relief under Title 11,

       Chapter 13 on April 2, 2019, and confirmed on October 12, 2021.

       2.     Jack W. Gooding (hereinafter “Trustee”) was appointed the Chapter 13 Trustee

       and is a party in their official capacity only.

       3.     Debtor executed and delivered or otherwise obligated with respect to that certain

       Manufactured Home Retail Installment Contract and Disclosure Statement (hereinafter

       “Note”) in the original principal amount of $51,509.83. Movant is an entity entitled to

       enforce the Note.

       4.     Pursuant to a Certificate of Title all obligations of Debtor under and with respect

       to the Note and the Title are secured by the Property and any other collateral described in

       the Note.

       5.     Documents or pertinent excerpts of the documents evidencing the creation and
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     perfection of the security interest are attached hereto. Documentation provided is in

     support of right to see a lift of stay and foreclose if necessary.

     6.       The last Homeowner’s Insurance Policy Movant expired on January 6, 2020, and

     Movant has not been provided with proof of renewed insurance. Movant has made

     attempts to get proof of insurance to no avail.

     7.       Debtor has failed to provide adequate protection of Movant's security interest in

     said property.

     8.       In addition to the other amounts due to Movant reflected in this Motion, as of the

     date hereof, in connection with seeking the relief requested in this Motion, Movant has

     also incurred $743.00 in legal fees and $188.00 in costs. Movant reserves all rights to

     seek an award or allowance of such fees and expenses in accordance with applicable loan

     documents and related agreements, the Bankruptcy Code and otherwise applicable law.

     9.       Movant asserts that sufficient cause exists to waive the requirement of Bankruptcy

     Rule 4001(a)(3), therefore allowing any order entered to be effective upon execution.

     10.      Movant hereby consents to the continuation of the automatic stay until a hearing

     is held on the merits of the motion if it is opposed, and hereby waives its rights to a

     hearing within (30) days of this motion, as provided by 11 U.S.C. §362(e)(1).

     WHEREFORE, Movant prays:

     1. That Notice be afforded the Respondents.

     2. That the automatic stay pursuant to 11 U.S.C. §362(a) be terminated.

     3. That relief awarded will survive any conversion made by Debtor.

     4. That upon entry of an order granting relief from stay, the notice requirements under

           Rule 3002.1 of the Federal Rules of Bankruptcy Procedure cease to apply with
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        respect to the Property in the instant bankruptcy case.

     5. That the provisions of Bankruptcy Rule 4001(a)(3) be waived.

     6. For such other relief as the Court may deem just and proper.

     DATED this the 28th day of April 2023.

                                          Respectfully submitted,

                                          /s/ Joshua I. Goldman
                                          JOSHUA I. GOLDMAN, ESQ.
                                          PADGETT LAW GROUP
                                          6267 Old Water Oak Road, Suite 203
                                          Tallahassee, FL 32312
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                                          Counsel for Movant
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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the Motion for Relief from

Automatic Stay has been furnished to the parties on the attached Service List by electronic notice

and/or by First Class U.S. Mail on this the 28th day of April 2023:



                                             Respectfully submitted,

                                             /s/ Joshua I. Goldman
                                             JOSHUA I. GOLDMAN, ESQ.
                                             PADGETT LAW GROUP
                                             6267 Old Water Oak Road, Suite 203
                                             Tallahassee, FL 32312
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                    SERVICE LIST (CASE NO.: 4:21-bk-10907)


DEBTOR
NIKKI STEWART
514 HOLLYHOCKS ST
NORTH LITTLE ROCK, AR 72117-2216

ATTORNEYS
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P.O. BOX 164439
LITTLE ROCK, AR 72216

TRUSTEE
JACK W. GOODING
CHAPTER 13 STANDING TRUSTEE
LINE 1: 877-988-6627 CODE3840362
LINE 2: 877-921-0644 CODE4852474
P.O. BOX 8202
LITTLE ROCK, AR 72221-8202

U.S. TRUSTEE
U.S. TRUSTEE (UST)
OFFICE OF U.S. TRUSTEE
200 W CAPITOL, STE. 1200
LITTLE ROCK, AR 72201
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